Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 1 of 26 Page ID #:9146
Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 2 of 26 Page ID #:9147
Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 3 of 26 Page ID #:9148
Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 4 of 26 Page ID #:9149
Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 5 of 26 Page ID #:9150
Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 6 of 26 Page ID #:9151
Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 7 of 26 Page ID #:9152
Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 8 of 26 Page ID #:9153
Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 9 of 26 Page ID #:9154
Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 10 of 26 Page ID
                                 #:9155
Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 11 of 26 Page ID
                                 #:9156
Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 12 of 26 Page ID
                                 #:9157
Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 13 of 26 Page ID
                                 #:9158
Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 14 of 26 Page ID
                                 #:9159
Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 15 of 26 Page ID
                                 #:9160
Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 16 of 26 Page ID
                                 #:9161
Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 17 of 26 Page ID
                                 #:9162
Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 18 of 26 Page ID
                                 #:9163
Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 19 of 26 Page ID
                                 #:9164
Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 20 of 26 Page ID
                                 #:9165
Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 21 of 26 Page ID
                                 #:9166
Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 22 of 26 Page ID
                                 #:9167
Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 23 of 26 Page ID
                                 #:9168
Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 24 of 26 Page ID
                                 #:9169
Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 25 of 26 Page ID
                                 #:9170
Case 2:16-cv-02859-CAS-PLA Document 277 Filed 03/06/17 Page 26 of 26 Page ID
                                 #:9171
